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                                 (17-11) (Part 17-11)
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                 Case No. 25cv00613 (NDGA) (MLB)
              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


In re:
GROUP MANAGEMENT CORP. (Debtor),
                                                                                                       S/s
                                                                              l1 -11
03-93031 (BC NDGA), Chapter 11



                                            On appeal in:
ULYSSES T. WARE and d/b/a GROUP MANAGEMENT, (a sole proprietorship),
Appellants,
v.
ALPHA CAPITAL, AG, et al., Predatory Unregistered Broker-Dealers.
Appellees.


[Docket Text] March 21, 2025, (17-11) (Part 17-11) APPELLANTS'
28 USC § 1654 SUPPLEMENTAL MEMORANDUM OF LAW (#7)
IN SUPPORT OF Dkt. 12, (17-1) MARCH 10, 2025, APPLICATION
FOR ARTICLE III "THRESHOLD" JURISDICTIONAL SHOW
CAUSE      ORDER      AND       OTHER       RELIEFS-BINDING
PRECLUSIVE EFFECTS OF RULE 41(a)((2) FINAL JUDGMENT.

Respectfully submitted,
/s/ Ulysses T. Ware
~ ~ses T. Ware , • /
(//)~ :). w~
Page tf~t 2i
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(17-11) (Part 17-11) re Appellants' Supplemental Memorandum of law (letter-brief) (#7) in Support of
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28 USC§ 1654 Attorney-in-fact for Appellants, Group Management (a sole proprietorship) and
Ulysses T. Ware


cc:
The Office of the District Clerk (NDGA).
Executive Director Administrative Office of the U.S. Courts,
Office of the FBI Director,
via U.S. mail.



           28 USC § 1654 Pro Se Appellants' Declaration and Certificate of Filing

I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that
on this 2!51 day of March 2025 , I caused to be served a true and correct copy of the foregoing
Appellants' Memorandum of Law (#7) in Support ofDkt. 12, Appellants' March 10, 2025 , (17-1)
(Part 17-1) Show Cause Order, Appellate Status Conference, Stay of Briefing Schedule (Dkt. 10),
and Other Reliefs via U.S . mail and electronic mail to the Chambers of the Hon. District Judge
Michael L. Brown and to the Office of the District Clerk (NDGA), Executive Director
Administrative Office of the U.S. Courts, and Office of the FBI Director.


Signed under oath subject to the penalty of perjury having personal knowledge of the facts,
pursuant to 28 USC§ 1746 this 21 st day of March 2025 , in Brooklyn, NY.



42;:~ww~
For JZiy-sse sT'. Ware, a natural person, d/b/a Group Management, a sole proprietorship, pursuant
to 28 USC§ 1654.




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ruled and found as fact that Appellees, 02cv2219 (SDNY) plaintiffs, Appellee KTS' unregistered
broker-dealer clients "beneficially owned more than 9.9% of GMC's stock" which (i) as a matter of
law precluded and prohibited any alleged "creditor" status during the 03-93031 Chapter 11; and
(ii) required the Section 16(b) disgorgement and 11 USC § 542(a) turnover of +$522 million in
short-swing insider-trading profits to the 03-93031 Chapter 11 estate for administration to the
lawful creditors and residual corpus returned to Group Management to fund its business plan post
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                                Friday, March 21, 2025, 2:49:40 PM

VIA U.S. MAIL AND ELECTRONIC FILING TO CHAMBERS

The Honorable Michael L. Brown
United States District Judge
Northern District of Georgia
Richard B. Russell U.S . Courthouse
75 Ted Turner Drive, SW
Atlanta, GA 30303

Re:     Ware, et al. v. Alpha Capital, AG, et al.
        Case No. l :25-cv-00613-MLB (N .D. Ga.)
        Related Bankruptcy Case: In re Group Management Corp. , Case No. 03-93031 (Bankr.
        N.D. Ga.).



Respectfully submitted,

The Office of Ulysses T. Ware

~JI Ulysses T. Ware
vu~::>. Wco-u--·
Uly;;JTware
Attorney in Fact for Appellants Group Management (a sole proprietorship) and Ulysses T. Ware




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Appellants' Memorandum of Law (#7) (letter-brief) (17-11) Applying Federated Dep't
Stores, Inc. v. Moitie, 452 U.S. 394, 398, 401-02 (1981) to Judge Sand's voluntary. after the
NYS statute oflimitation had run on all claims in the 02cv2219 complaint, December 20, 2007,
Final Judgment (Rule 41(a)(2)) on the merits in favor of Appellants Group Management and
Ulysses T. Ware, and against the 02cv2219 (SONY) plaintiffs, and "their privies" 1 in the
02cv2219 (S.D.N.Y.) judicial proceedings. See Ex. A, and Ex. B, (Judge Sand's binding
rulings in 02cv2219 (SDNY)), infra.



A. APPELLANTS'                           ARTICLE                 III        JURISDICTIONAL
CONTENTIONS.
        Appellants herein, the 02cv2219 (SDNY) proceeding's Rule 41(a)(2) Final Judgment
Prevailing Parties, contend that pursuant to Judge Sand's Dec. 20, 2007, voluntary Rule 4l(a)(2)
final judgment, see Ex. A, infra (see Dkt. 5-13 on pages 46-4 7), the 02cv2219 (SDNY) plaintiffs,
jointly Predators and their privies, knowingly, willfully, and with the advice of legal counsel
Appellee Kenneth A. Zitter, Esq., (see 25cv00613, Dkt. 9) on or about Dec. 20, 2007 , intentionally
waived, forfeited, abandoned, and terminated any "live" (extant) Article III case or controversy
('concrete adverseness') between the Appellants, the Appellees, and their "privies"- that is, as of
Dec. 20, 2007, the 02cv2219 (SDNY) plaintiffs and their "privies" Uointly, the "Predators"),
never were, but no longer were, viable Article III "real parties in interest" 2 with respect to all
issues, facts, arguments, and claims raised in the 03-93031 Chapter 11 Bankruptcy court, and in
this District Court, 25cv00613, on appeal form 03-93031, that were actually and/or necessarily
resolved by Judge Sand's voluntary Rule 41(a)(2) final judgment. See Federated, 452 U.S . at 398,
401-02.



1
  It is of paramount importance for Article III standing purposes apropos: (i) Ex. A, infra, the 03-93031
Chapter 11 and this 25cv00613 appeal to determine the exact identities of each person or entity in privy
with the 02cv2219 (SDNY) plaintiffs for the purpose of binding claim preclusion (res judicata), issue
preclusion (collateral estoppel), factual preclusion (equitable estoppel and judicial admissions and
confessions) related to the Rule 41 (a)(2) final judgment's preclusion; and (ii) Ex. B, infra, Judge Sand ' s
Aug. 13, 2003, Dkt. 65, 15 USC§ 78p(b) statutory insider, +$522 million disgorgement/turnover ofinsider-
trading profits to the Chapter 11 estate, Roth, 489 F.3d at 506-10, and 11 USC§ 542(a).

2
  The Predators and their privies by knowingly and willfully on Dec. 20, 2007, Rule 4l(a)(2) voluntarily
dismissing their own manifestly frivolous , fraudulent, vexatious, and bad faith 02cv2219 (SDNY) lawsuit
with prejudice-judicially admitted and confessed to the mootness and voidness of the roceedings-that
is, the Predators knowingly abandoned all legal "interest" in the 02cv22l9 proceedings, its prior orders:
and judgments. Thus, there was no justiciable legal "interest" of the Predators and their privies for the 03-
93031 bankruptcy court to have adjudicated in its moot, void ab initio, ultra vires orders, Dkt. 5~7, 5-8, 5-
9, and 5-10. 'Hence, lacking a legal "interest" in the 03-93031 proceedings, the Predators, accordinglv,
lack a iusticiable legal "interest" in the 25cv00613 fNDGA) appeal proceedings.

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        Accordingly, it follows as a matter of constitutional imperative and by operation of law
that the United States District Court in Case No. 25-cv-00613 is without power to "affirmatively
establish" Article III subject matter jurisdiction over the Predatory Criminal Usury Subject
Matter--designated as GX 1 through GX 4 and GX 5. See Steel Co. v. Citizens for a Better Env't,
523 U.S. 83, 93- 95 (1998) (holding that the existence of subject matter jurisdiction is an "inflexible
prerequisite" that must be established before reaching the merits); Lujan v. Defenders of Wildlife ,
504 U.S. 555, 560-61 (1992) (requiring a concrete and particularized injury-in-fact traceable to
the challenged conduct); A.B. Dick Co. v. Marr, 197 F.2d 498, 501- 02 (2d Cir. 1952) (plaintiffs
voluntary dismissal of their own lawsuit recognizing that jurisdictional defects render judicial
action void ab initio).

        In consequence, the instant appellate proceeding in 25-cv-00613--deriving as it does from
the constitutionally moot and jurisdictionally infirm proceedings below in 03-93031 (Bankr.
N.D. Ga.) and 02-cv-2219 (S.D.N. Y.)-is likewise rendered moot and void ab initio to the extent
it purports to entertain, adjudicate, or otherwise confer judicial relief upon the predatory criminal
usury unlawful debt collection predicate claims of the so-called "Predators" or any of their agents,
alter egos, proxies, surrogates, all those in active concert therewith, or privies. See Federated Dep 't
Stores, Inc. v. Moitie, 452 U.S. 394, 398, 401-02 (1981) (holding that the preclusive effect of a
final iudgment extends to parties and their privies, and bars relitigation of matters previously
decided). See also Dkt. 28 (03-93031); Dkts. 5-7, 5-8, 5-9, and 5-10 (25-cv-00613).

I. INTRODUCTION
1. Purpose and Procedural Posture

         Appellants Group Management (a sole proprietorship) and Ulysses T. Ware (collectively,
"Appellants"), see Dkt. 13, respectfully submit this Memorandum of Law (#7) in further support
of their Article III jurisdictional arguments on appeal. Appellants address the conclusive preclusive
effect of the December 20, 2007, Rule 4l(a)(2) Final Judgment, Exhibit A, infra, entered by the
late Honorable Leonard B. Sand in 02cv2219 (S.D.N.Y.), in favor of Appellants, and the direct
relevance of Federated Dep't Stores, Inc. v. Moitie, 452 U.S . 394 (1981), to the proceedings
pending in 25cv00613 (N.D. Ga.) and 03-93031 (Bankr. N.D. Ga.).

2. Scope of Memorandum

        This memorandum expands upon the standard doctrine of res judicata, but with heightened
factual specificity, legal detail, and precision regarding how Federated mandates that this Court,
along with the Bankruptcy Court (N.D. Ga.), United States federal courts, enforce the Rule
41(a)(2) final judgment entered on December 20, 2007, in 02cv2219, Ex. A, infra. Appellants
assert that by operation of law, that final judgment binds all courts (02cv2219, 03-93031,
04cr1224, 05crl 115, 25cv00613, and In re Ware (Supreme Court ofGA),jointly, (the "Courts"),




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the parties, and their privies, 3 thereby permanently foreclosing any contradictory rulings and
arguments in 25cv00613 and 03-93031.

3. Relief Sought


Appellants respectfully request that this Court:

          1. Formally recognize the December 20, 2007, Rule 41(a)(2) Final Judgment as resjudicata
             and collateral estoppel with respect to every relevant factual and legal issue resolved
             therein the 02cv2219 (SDNY) proceedings.
          2. Declare that all rulings, orders, and judgments in 25cv00613 and 03-93031 that conflict
             with or contradict that final judgment, Ex. A, infra, are void, annulled, or vacated, nunc pro
             tune December 20, 2007.
          3. Enforce via the civil or criminal contempt processes Appellants ' "Final Judgment
             Prevailing Parties" status and the associated preclusive effect of that Rule 41 (a)(2) final
             judgment in favor of Appellants across all proceedings now pending in the 25cv00613 and
             03-93031 United States federal courts.

II. STATEMENT OF FACTS AND PROCEDURAL HISTORY
1. The 02cv2219 (S.D.N.Y.) Litigation

     1.      Nature of the Claims. In March 2002, 02cv2219 (S.D.N.Y.), the predatory unregistered
             broker-dealers Alpha Capital, AG, Stonestreet, L.P., Markham Holding, Ltd. , Amro
             International, S.A., and their privies (collectively, "Appellees" or "02cv2219 plaintiffs" or
             "Predators") in criminal violation of the federal racketeering loan sharking laws, 18 USC
             §§ 1951(a), 1956-57, 1961(6)(B), and 1962(a-d), initiated federal unlawful debt collection
             litigation with respect the Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5,
             alleging various manifestly frivolous, moot, and void ab initio purported "claims" against
             Appellants related to certain purported convertible promissory notes or "Predatory
             Criminal Usury Subject Matter, GX 1-4, and GX 5." See Dkt. 5-1 to 5-10 (judicial
             admission and confessions ofKTS, its clients, and KTS' lawyers-privies of the 02cv2219
             (SDNY) plaintiffs).
    ii.      Beneficial Ownership Ruling (Dkt. 5-13, pp. 43-45), Ex. B, infra. On August 13, 2003,
             Judge Sand specifically held in 02cv22 l 9 (see Dkt. 65 therein) that Stonestreet, L.P ., Alpha
             Capital, AG, and affiliated 02cv22 l 9 plaintiffs collectively "beneficially owned more than
             9.9%" of Debtor Group Management's stock. This factual finding triggered both (i) strict-
             liability short-swing insider-trading liability under 15 U.S.C. § 78p(b) and (ii) turnover

3Whom as of today, March 21 , 2025, the 02cv2219 (SONY) plaintiffs ' "privies" have not been officially
and exactly identified by the 25cv00613 (NDGA) District Court as required by Federated, 452 U.S. at 398,
401-02, Steel Co., 523 U.S. at 93-95 , and Lujan, 504 U.S . at 560-61 , Article III subject matter jurisdictional
and standing, respectively, prerequisites.

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           and disgorgement obligations under 11 U.S.C. § 542(a) regarding more than $522 million
           in short-swing insider-trading profits. See Roth v. Jennings , 489 F.3d 499, 506-10 (2d Cir.
           2007) .
 u1.       Posture Leading to the December 20, 2007, Final Judgment. Following extensive
           motions and arguments, the 02cv2219 plaintiffs, under Fed. R. Civ. P. 41(a)(2), voluntarily
           dismissed all purported claims in 02cv2219 with preiudice after the statute of/imitations
           had run on all alleged causes of action. Judge Sand entered that voluntary dismissal with
           prejudice as a final judgment on December 20, 2007, Dkt. 90, Ex. A, infra, with prejudice
           and on the merits, thereby conferring "prevailing party" status on Appellants, in the precise
           manner recognized by A. B. Dick Co. v. Marr, 197 F.2d 498, 501-02 (2d Cir. 1952), and
           U.S. v. L-3 Comm'cs EOTech, Inc., 921 F.3d 11, 18-19 (2d Cir. 2019) (Kearse, J)
           (collecting cases).

2. Relevance to 03-93031 (Bankr. N.D. Ga.)

   1.      Appellant Group Management's Chapter 11 Filing. On or about March 18, 2003, after
           being repeatedly threatened with violence, and extreme bodily harm by Kenneth A. Zitter,
           Esq., Arie Rabinowitz, convicted felon Edward M. Grushko, Esq., and the late District
           Judge Leonard B. Sand, Appellants Ware, and Group Management Corp., fearing for their
           lives and personal safety commenced a lawful, valid, and good faith Chapter 11 proceeding
           in the Bankruptcy Coµrt for the Northern District of Georgia under Case No. 03-93031,
           seeking to rid Group Management of the Predators' daily threats, extortion, threaten
           violence, and unlawful debt collection attempts, to reorganize and address, among other
           things, the bogus and fraudulent predatory unlawful debt claims advanced by the same
           unregistered broker-dealer plaintiffs from 02cv2219 (S.D.N.Y.). See Appellants' 03-
           93031, 03/31/2003 (03-93031 Doc. 5) (25cv006 l 3 Dkt. 5-17 on page 2: "Motion to Reject
           Executory Contract [GX 1-4, and GX 5] or Lease . . .. ").
  ii .     Appellants' Position. Appellants assert that Judge Sand' s voluntary Rule 41(a)(2)
           December 20, 2007, Final Judgment entered in 02cv2219 (SDNY), Ex. A, infra,
           necessarily eliminated and terminated as by operation of law any "live" Article III
           controversy- 'concrete adverseness', regarding GX 1-4 and GX 5, which underpinned the
           Predators' manifestly frivolous , fraudulent, vexatious, and bad faith predatory unlawful
           debt collection claims pleaded in the 02cv2219 complaint. Consequently, all issues, facts ,
           or arguments that rely upon the existence of those now-annulled claims in 03-93031, in
           whole and/or in part, are likewise moot or void ab initio. A.B. Dick, 197 F.2d at 501-02
           ("all prior proceedings, orders, and judgments are annulled, vitiated, and vofrf' as of Dec.
           20, 2007.) (paraphrased) (emphasis added).
 iii.      Asset of the 03-93031 Chapter 11 Estate. Meanwhile, the +$522 million short-swing
           insider-trading profits, identified in the August 13 , 2003 "beneficial ownership" ruling (see
           Ex. B, infra), and recognized under 11 U.S.C. § 541(a)(l) and § 542(a), remain
           unadministered prope~y of the Chapter 11 estate currently in the constructive possession
           of KTS and their clients (fiduciaries of the Appellant Group Management holding the




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            +$522 million in a constructive trust for the benefits of the Appellants) .4 Appellants
            maintain these amounts must be immediately turned over to the estate, or the District Court
            (NDGA), for distribution to legitimate creditors, consistent with Judge Sand's finding in
            Dkt. 65 (02cv2219). Ex. B, infra.

3. Relevance to 25cv00613 (N.D. Ga.) Appeal

     1.     Current Appeal. The 25cv00613 action is the immediate forum in which Appellants seek
            to enforce the binding preclusive effect of the Rule 4l(a)(2) December 20, 2007, Final
            Judgment. Appellees continue to argue and imply the nonexistence of a "legally protected
            or enforceable interest" in the Predatory Criminal Usury Unlawful Debts, GX 1-4, criminal
            usury, null and void ab initio convertible note claims that were dismissed with prejudice in
            02cv22 l 9 on Dec. 20, 2007, see Ex. A, infra.
    11.     Article III Standing. Appellants argue that, pursuant to Federated, 452 U.S. at 398, 401-
            02, the Rule 41 (a)(2) final judgment's conclusive resolution in favor of Appellants nullifies
            any claim or standing of Appellees to proceed in 25cv00613 with respect to the "Predatory
            Criminal Usury Subject Matter, GX 1-4, and GX 5, and all actual and/or necessary issues,
            facts, and claims resolved by the Rule 4l(a)(2) final judgment with respect to the 02cv2219
            Predators and their 'privies." Id. 5

III. LEGAL ARGUMENT
        A comprehensive review of controlling precedent, combined with the underlying factual
record, confirms that the December 20, 2007, Final Judgment in 02cv2219 (S.D.N.Y.) irrevocably
extinguishes every cognizable claim or defense relating to the "Predatory Criminal Usury Subject
Matter" (GX 1---4 and GX 5) as a matter of bedrock res judicata principles. In the light most
favorable to Appellants' positions, the ensuing discussion highlights (1) the absolute binding force
of Federated Dep't Stores, Inc. v. Moitie, 452 U.S. 394 (1981), in barring contradictory litigation,
(2) the breadth of issues and claims "actually or necessarily resolved" by the December 20, 2007,
final judgment, and (3) the practical impact of that preclusion on both 03-93031 (Bankr. N.D.
Ga.) and 25cv00613 (N.D. Ga.) proceedings. Finally, this Section reaffirms Appellants as
"prevailing parties" pursuant to the final judgment's operative legal effect.

A. Federated Dep't Stores, Inc. v. Moitie and Its "Absolutely Binding" Effect



4
  See In re General Coffee Corp. , 828 F.2d 699 (ll th Cir. 1987) (A constructive trust is created in favor of
the beneficiary [Appellants Ware and Group Management] at the time of the facts giving rise to the breach
of fiduciary duty [by KTS and its unregistered broker-dealer clients, the Predators]).
5 Palpably, given that the 02cv2219 (SDNY) plaintiffs are loan sharking, extortion, and money laundering

predators, it follows that their "privies", proxies, surrogates, alter-egos, legal counsels, and all those in act
concert therewith must also be deemed and classified as predators.

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1. Foundational Precept of Res Judicata

        Under the Supreme Court's holding in Federated Dep't Stores, Inc. v. Moitie, "[t]he res
judicata consequences of a final, unappealed judgment on the merits [are] not altered by the fact
that the judgment may have been wrong or rested on a legal principle subsequently overruled."
452 U.S. at 398. Federated thus unequivocally reaffirms that Judge Sand's Dec. 20, 2007, (see Ex.
A, infra), voluntary final judgment of dismissal on the merits "is absolutely binding on all courts
[03-93031 , 02cv2219, 04cr1224, 05crl 115, 25cv00613, and Supreme Court of GA], the parties,
and their privies." Id. at 398, 401-02. Where, as here, no timely direct appeal was taken, or could
be taken by the Appellees from their own voluntary December 20, 2007, Final Judgment,
accordingly, such voluntary dismissal "with prejudice" became conclusively binding, dispositive,
and immune to collateral challenge by the Predators and their privies herein.

2. Voluntary Dismissal With Prejudice Under Rule 41(a)(2) Equates to a Merits Judgment

        It is a well-settled proposition that a voluntary dismissal "with prejudice" under Fed. R.
Civ. P. 4l(a)(2) operates as an adjudication on the merits for res judicata purposes. See A. B. Dick
Co. v. Marr, 197 F.2d 498, 501-02 (2d Cir. 1952) (noting that a stipulation or order of dismissal
with prejudice is "no less an adjudication of the issues than a decree rendered after trial"); U.S. v.
L-3 Comm 'cs EOTech, Inc. , 921 F .3d 11 , 18-19 (2d Cir. 2019) (collecting similar authorities).
By voluntarily dismissing all claims against Appellants--despite knowing the relevant statute(s)
of limitations had run- Alpha, Stonestreet, Markham, Amro, and their privies irrevocably
abandoned, waived, forfeited, and relinquished any and all legal or equitable rights, irrevocably,
to resurrect those claims. Under no circumstances may they re-litigate facts, issues, claims, or
legal theories "actually or necessarily resolved" by or encompassed within their own voluntary
Dec. 20, 2007, Rule 41(a)(2) final judgment, Ex. A, infra. See Federated, 452 U.S . at 398-99.

3. Scope and Breadth of the Res Judicata Bar

        Applying these settled principles to Judge Sand's voluntary December 20, 2007, Final
Judgment entered in 02cv2219 confirms its sweeping preclusive effect. Judge Sand's final
judgment dismissed every claim or factual contention raised-or that could have been raised- by
the 02cv2219 plaintiffs regarding the predatory criminal usury unlawful debts, GX 1-4, and GX 5,
loan sharking convertible promissory notes, the purported "injuries" associated with them, and the
ancillary issues that came before Judge Sand. Consequently, any subsequent litigation in any court
on that same nucleus of operative fact or that same transaction is strictly prohibited. See
Federated, 452 U.S. at 401-02 (explaining that final judgments foreclose all facets ofre-litigation
of the same matter, whether labeled anew or slightly reframed) .

        Because the Rule 4l(a)(2) dismissal was conclusive and final, Appellants emerge as the
"prevailing parties" for all claims advanced in 02cv2219. To the extent that Alpha, Stonestreet,
Markham, Amro (and their privies) continue to assert any claim of right or purported enforceable
interest in the "Predatory Criminal Usury Subject Matter," they stand estopped by the 2007 Final
Judgment from doing so in 25cv00613 or 03-93031 , and subject to the District Court' s civil and


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criminal contempt authority to protect the Appellants' legal rights under the Rule 41(a)(2) Final
Judgment's preclusive effects.

B. Issues and Claims "Actually or Necessarily Resolved" in 02cv2219 That Are
Forever Precluded

1. All Theories of Recovery on the Same Transactional Facts

       In assessing the broad preclusive impact of the 02cv22 l 9 Final Judgment, courts
consistently apply a "transactional" standard under federal preclusion doctrine. See, e.g. , NML
Capital, Ltd. v. Banco Central de la Republica Argentina, 652 F.3d 172, 186 (2d Cir. 2011). 6
Under this standard, any legal theory-even if newly minted or styled differently- arising out of
the same factual nucleus cannot be pursued where that nucleus has been conclusively litigated or
dismissed. Here, because the 02cv2219 litigation encompassed all alleged wrongdoing arising out
of or connected with the same predatory criminal usury subject matter, GX 1-4, and GX 5,
predatory debts, no new or re-labeled "causes of action" can circumvent Judge Sand's Dec. 20,
2007, (see Ex. A, infra and Ex. B, infra) final judgment's effect. This holds true whether in the 03-
93031 Bankruptcy Court or 25cv00613 District Court in the N orthem District of Georgia.

2. Standing and Article III "Case or Controversy"

        From an Article III standpoint, the Predators ' Dec. 20, 2007, voluntary dismissal "with
prejudice"- after the applicable statute of limitations expired-directly negated any continuing
existence of a "concrete, particularized iniury" or "legally protected interest" on the part of the
02cv2219 plaintiffs. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992). Indeed, by
terminating their own claims of injury through a final judgment, those parties effectively
disclaimed any ongoing 'concrete adversity' or lawful claim recognized by federal law. It
necessarily follows that re-litigating the same subject matter in 25cv00613 or 03-93031 revives no
live Article III controversy. The 03-93031, 02cv2219, 25cv00613 , 04cr1224, 05crlll5 , and
Supreme Court of GA, thus lack jurisdiction to entertain claims belatedly reasserted by the
02cv2219 plaintiffs or their privies in the Bankruptcy Court or here on appeal, who already
forfeited and abandoned these claims on Dec. 20, 2007, in a binding final judgment.

3. Collateral Estoppel Over "Beneficial Ownership" and Turnover Obligations

       Additionally, Judge Sand's August 13, 2003 , 11 USC § 542(a) and 15 USC § 78p(b)
"beneficial ownership" ruling (see Ex. B, infra) (finding that Stonestreet, Alpha, and their allied


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  InBancec, the Supreme Court explained that "where a corporate entity [KTS, the 02cv2219 Predators,
and their privies] is so extensively controlled by its owner [Arie Rabinowitz, et al.] that a relationship oi
principal and agent is created, we have held that one may be held liable for the actions of the
other." Bancec, 462 U.S. at 629, 103 S.Ct. 259 1. NML CAPITAL, LTD v. BCRA , 652 F.3d 172, 182 (2d
Cir. 20 l l) (emphasis added).


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02cv2219 plaintiffs collectively owned in excess of9.9% of Group Management's equity) stands
unrebutted and final. Combining (in pari materia) that factual determination with the subsequent
voluntary dismissal of all their claims "on the merits" underscores that none of these putative
Appellees (Predators) may lawfully contest the short-swing insider-trading liability (15 U .S.C. §
78p(b)) or the corresponding turnover obligations (11 U.S.C. § 542(a)) in the bankruptcy estate.
These rulings were all "actually or necessarily resolved" in 02cv2219. Federated, 452 U.S. at 401-
02.

        Thus, having voluntarily, after the NYS statute of limitation had run on all claims in the
02cv22 l 9 complaint, and therefore forfeited, waived, and abandoned any contrary position by
operation of the December 20, 2007, Final Judgment, the 02cv2219 plaintiffs-Predators are forever
precluded from disputing the +$522 million short-swing profits identified as part of the Chapter
11 estate or disclaiming the statutory obligation to disgorge them.




C. Impact on 03-93031 (Bankr. N.D. Ga.) and 25cv00613 (N.D. Ga.)

1. Effect on 03-93031 Proceedings

       In the context of the ongoing 03-93031 Chapter 11, any orders, judgments, or claims that
presuppose the validity or enforceability of the very same Predatory Criminal Usury Debts, GX 1-
4, and GX 5, stand in direct contravention (civil contempt) of the December 20, 2007, Final
Judgment's binding preclusive effects. As Federated makes clear, a subsequent or parallel tribunal
has no authority to override or ignore a final res judicata determination from another federal court.
452 U.S. at 401-02. Put simply, the 03-93031 Bankruptcy Court (N.D. Ga.) and 25cv00613 District
Court are categorically barred from entertaining arguments that the dismissed 02cv22 l 9 plaintiffs
enjoy any extant legal claim stemming from those predatory criminal usury debts, GX 1-4, and
GX 5. Insofar as the Bankruptcy Court has issued orders or recognized proofs of claim founded
upon such purported debts, those orders are in tension with the binding final judgment and must
be annulled, vacated, or disregarded.

2. Effect on 25cv00613 Proceedings

        The same principle applies with equal force to 25cv00613 in the District Court (N.D. Ga.).
Because it indisputably involves the same parties to 02cv22 l 9 (SDNY) or their privies, the same
predatory criminal usury debt claims, and the same factual nexus that underlay 02cv2219, any
continued assertion that the 02cv2219 plaintiffs retain a live controversy or an enforceable legal
interest flouts the Supreme Court's unequivocal directive in Federated, 452 U.S . at 398, 401-02.
By operation of res judicata, every contradictory argument is foreclosed, leaving no live issues for
this Court to address concerning the validity of those predatory criminal usury unlawful debts or
the existence of any associated "particularized, concrete injury in fact" to "a legally protected
interest" in null and void ab initio Predatory Criminal Usury Unlawful Debts, GX 1-4. Thus, as a



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practical matter, the effect of Judge Sand's Dec. 20, 2007, voluntary Rule 41(a)(2) final judgment,
Ex. A, infra, is to moot all such contentions in this appeal.

D. Reaffirmation of Appellants' "Prevailing Party" Status

1. Legal Consequences of a Rule 41(a)(2) Dismissal with Prejudice

       The Dec. 20, 2007, Dkt. 90, Judge Sand's voluntary final judgment "with prejudice" in
02cv22 l 9 indisputably confers "prevailing party" status on Appellants, because a Rule 41 (a)(2)
dismissal on the merits is fully equivalent to a merits-based adjudication after trial for res judicata
purposes. See U.S. v. L-3 Comm'cs EOTech, Inc. , 921 F.3d at 18-19. As a direct corollary, the
02cv2219 plaintiffs-Alpha, Stonestreet, Markham, Amro, and their privies- cannot be heard to
suggest that they remain "creditors" or otherwise hold legally cognizable claims in 03-93031 or
25cv00613.

2. Accord with Fundamental Res Judicata Policies

         This unequivocal recognition of Appellants as "prevailing parties" is consistent not merely
with the Federal Rules of Civil Procedure, but also with the overarching public policy interests
served by finality of judgments. See Federated, 452 U.S. at 401-02 (highlighting that res judicata
"is a rule of fundamental and substantial justice, 'of public policy and of private peace' ... which
should be cordially regarded and enforced by the courts"). Allowing the 02cv2219 plaintiffs to
evade the preclusive final judgment and mount renewed challenges in 25cv00613 or 03-93031
would vitiate these core policy concerns, undermine judicial economy, and contravene the express
dictates of the Supreme Court's jurisprudence.

IV. SUMMARY
        Judge Sand's voluntary December 20, 2007, Rule 4l(a)(2) Final Judgment entered in
02cv22 l 9 (S.D.N.Y.), Ex. A, infra, terminated all Article III required 'concrete adverseness"
between Appellants and Appellees with respect to the Predatory Criminal Usury Unlawful Debts,
GX 1-4, and GX 5, and constitutes an adjudication on the merits of all claims actually or
necessarily pleaded in the 02cv2219 (SDNY) complaint, Dkt.1--conferring full res judicata and
collateral estoppel effects on all issues, facts, or claims "actually or necessarily resolved" by the
Rule 4l(a)(2) Final Judgment in favor of the Appellants, the Final Judgment Prevailing Parties.

       Under Federated, 452 U.S. at 398, 401-02, no subsequent tribunal-whether in bankruptcy
proceedings (03-93031) or appellate review (25cv00613)-may entertain contradictory
arguments, nor recognize any claim, argument, issues, or fact presented or advanced by any
Appellees (or privy of the 02cv2219 plaintiffs) herein, that relate to the predatory criminal usury
convertible notes', GX 1-4, as constituting an extant or "live" justiciable, concrete adverse
"legally protected right or interest" within the scope ofArticle III standing requirements.



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        Because all such purported claims related to the null and void ab initio and moot Predatory
Criminal Usury Subject Matter, GX 1-4, and GX 5, have been voluntarily and conclusively
abandoned, waived, forfeited, dismissed with prejudice, and extinguished as a matter of law, all
conflicting orders, judgments, or contentions in 03-93031 (Dkt. 5-1 to 5-6, and 5-7 to 5-10) or
25cv00613 are null and void ab initio, moot, ultra vires, extra-judicial, nullities, and must be
dismissed, annulled, or disregarded as nullities and ultra vires, Steel Co., 523 U.S. at 93-95.

        As a result, Appellants remain the sole and exclusive final judgment "prevailing parties"
with respect to all relevant aspects of this litigation (25cv00613), in the Chapter 11 (03-93031 ), in
02cv2219 (SDNY), in 04cr1224 (SDNY), in 05crl 115 (SDNY), and in In re Ware (2008)
(Supreme Court of GA) (predatory, racially-motivated, retaliatory Hobbs Act, theft of property,
fraudulent, fabricated, fake, and manufactured purported disbarment proceedings).

V. CONCLUSION AND REQUEST FOR RELIEF
In light of the foregoing indisputable facts and undenied legal analysis, Appellants respectfully
urge this Court to :

    1. Confirm the res judicata and collateral estoppel consequences of the December 20, 2007,
       Rule 41(a)(2) Final Judgment in 02cv2219 (S .D.N.Y.) under Federated, 452 U.S. 394 and
       declare it binding upon all parties, their privies, and all courts dealing with the same
       Predatory Criminal Usury Subject Matter, GX 1-4, and GX 5.
    2. Declare that, by operation oflaw, any ruling, judgment, or order in 25cv00613 or 03-93031
       that conflicts with, contradicts, hinders, negates, dilutes, or disregards the binding
       preclusive effect of Judge Sand's Rule 41(a)(2) December 20, 2007, Final Judgment is
       void, moot, extra-judicial, and ultra vires and must be treated as such, including any
       supposed "findings" of a valid or enforceable right in the so-called "Predatory Criminal
       Usury Subject Matter." (Dkt. 5-7 to 5-10).
    3. Acknowledge that the Rule 41(a)(2) final judgment vests Appellants with the status of
       "Final Judgment Prevailing Parties" for all relevant purposes, thereby foreclosing
       Appellees' contradictory factual allegations or legal contentions.
    4. Grant Any Additional Relief necessary to effectuate the final judgment's res judicata
       impact and to ensure that the +$522 million in short-swing insider-trading profits be treated
       as property of the 03-93031 bankruptcy estate, subject to turnover under 11 U.S.C. §
       542(a), 15 USC § 78p(b), and Roth , 489 F.3d at 506-10, and distribution to legitimate
       creditors.

    Appellants trust that this clarifies the dispositive effect of Judge Sand's voluntary December
20, 2007, Final judgment, Ex. A, infra, and appreciate the Court's attention to this crucial matter.

Respectfully submitted,

C)f~ :;. wwv.-
1s1 Ulysfes T. Ware

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I, Ulysses, attorney in fact for the Appellants Group Management (a sole proprietorship) and
Ulysses T. Ware

cc:
      •   Executive Director, Administrative Office of the U.S. Courts
      •   Office of the FBI Director

            28 USC§ 1654 Pro Se Appellants' Certificate of Service and Filing.

I, Ulysses T. Ware, attorney in fact for the Appellants, (see Dkt. 13 : Ulysses T. Ware's entry of
appearance in 25cv00613 for Appellant Group Management), hereby certify under penalty of
perjury that on this 21st day of March 2025, I caused to be served a true and correct copy of the
foregoing Appellants ' Memorandum of Law (#7) in Support of Dkt. 12, Application for Show
Cause Order and Other Reliefs, with respect to Judge Sand's, 02cv2219 (SDNY), December 20,
2007, Dkt. 90, Rule 41(a)(2) Final Judgment and Application of Federated Dep't Stores, Inc. v.
Moitie via U.S . mail and electronic mail to the Chambers of the Hon. District Judge Michael L.
Brown and to the Office of the District Clerk (NDGA), Executive Director Administrative Office
of the U.S. Courts, and Office of the FBI Director.

Signed under oath subject to the penalty of perjury having personal knowledge of the facts ,
pursuant to 28 USC § 1746 this 21st day of March 2025, in Brooklyn, NY.

/sf_ Ulysses T.   Warw.
~ ~ ?ware, a~ tural person, d/b/a Group Management, a sole proprietorship, pursuant
to 28 USC § 1654.




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Exhibit A-Judge S~nd's 02cv2219 (SONY) voluntary Dec. 20, 2007,
Rule 41(a)(2) Final Judgment (Dkt. 5-13 on pages 46-47).

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            Exhibit 2--Dkt. 90 (Binding Final Judgment)-02cv2219 (SDNY)
            Prevailing Parties Chapter 1 J Debtor Group Management and 1 J USC
            § I 109(b) statutory pruty in interest Ulysses T. Ware's Final Judgment-
            Decembe1· 20, 2007, Dkt. 90 Case No. 02cv2219 (SDNY), District Judge
            Leonard B. Sand. Fed. R. Civ. P. Rule 41(a)(2) volun1nry, ex parte
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            U{v.~es T. Ware.1




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            ,pNhulicff, of the 02cv22l 9 (SDNY) l.awsuit- final judgment on the merits for the Oinpter I l debtor, Group
             Mruuqiement, and 11 US §II09(b) statutory party in interest Ulysses T. \Vore, is currently and will be
             enforced against Hagenau, KTS, its client~. nnd each 18 USC §1962('.d) unindfoted coconspira1or wiJJiJ!k.
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             J l csta1e ll$sci$. of 1he binding court order, see l8 US §§401(2), and 401(3), nnd fed. R. Crim. P, 42.

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            Tue~av, Fe bruary 1-8, 2025
            (13-6) (Part 1S,6) re: The Parties' Joint Stipulated Bankr. Rule 8009(g}/8009(d) Appellate Factual
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            Tu .$day, F~bruary 18, 2025
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Exhibit B-Judge Sand's Aug. 13, 2003, 15 USC § 78p(b) statutory
insider final order: Judge Sand ruled and found as fact that
Appellees, 02cv2219 (SONY) plaintiffs, Appellee KTS' unregistered
broker-dealer clients "beneficially owned more than 9.9% of GMC's
stock" which (i) as a matter of law precluded and prohibited any
alleged "creditor" status during the 03-93031 Chapter 11; and (ii)
required the Section 16(b) disgorgement and 11 USC § 542(a)
turnover of +$522 million in short-swing insider-trading profits to the
03-93031 Chapter 11 estate for administration to the lawful creditors
and residual corpus returned to Group Management to fund its
business plan post Chapter 11.




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             Exhibit 1- Dkt. 65, Aug. 13, 2003, Sand, J.) (deceased), 02cv22l9
             (SDNY): Unappealed Judicial ruling (collateral, equ.itable1 and judicial
             estoppel) of l 5 USC §78p(b) statutory i,1s.ider status (disgorgement of all
             profits requirement to the Chapter l l est.ate) for each of KTS'
             unregistered broker;1leqler clients (see Ex. 3, infra) with respect to the
             Chapter 11 debtor s, Group Management Cmp.'s, pubbcty..traded equity
             securities.6




             ' Judge Sat1.d'3 Aug. 13, 2003, -rt1ling, binding a lawful court mer- (/!.) $Ubject to ~lfotcemilht ngaltliit
             Hageuau, KTS, its client, et ul viu civil (Ind crimlnat cootcwpt ( 18 US §§401(2), 4(H(3)) absolu~ly
             binding on the 03-93031 Chupter 11 Bankruptcy Com (NOOA) (Hal,"Cl'laU. C.J;), whicli (B) 1:ofl{erffl[
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             that is., J.fngenau, KTS, its partners, and its clients arc subject to (() pn eXi,vting Rnd f:"dJmt qnd cu"ent
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             glttt latim runnin,g from the di\t~ of JudlW Sa.id's IS USC §78p(b) court ()rder, AUg\1$1 1:3, 2003, (i.e.,
             stolen and concealed property and assets or the 03•93031 Cimpter l 1 estate).

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             Ex. 1-(.Dkt 65, 02cv22l9)-{18 USC§ 1961(1} Rat.ketcering Overt and Predicate Ac9,
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             and c«)~ OJd .   Judge S~tno m ex parte ootnmumcations fQnild each KTS client to be a
             15 USC§ 78p(b) statutory insider of 1roup Mnnngcment orp, and therefore triggered the
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          i The <:onspiracy to commit securities and bankruptcy fraud by KTS during the In
          · re Group Mangement Corp, 03-93031 (BC NOGA) Cllapter 11 proceedings. KTS'
                   ju!Jfil"itt:ed
          . clients'
          , district cou
                                       in ex parte communications with the 02cv2219 (SONY)
                              , J.) thatKTS did in fact knowingly violated 18 USC 2, 157,
          : 371. 924(c), 1201-02,1341. 1343, 1503, 1951(a), 1956-57, 1958-59, 1961(6)(8)
          · and 1962(d) by concealing and suppressing its clients' ownership of GPMrs
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